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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
SOPHIA BALOW, AVA
BOUTROUS, JULIA COFFMAN, CIVIL ACTION NO.
KYLIE GOIT, EMMA INCH,
SHERIDAN PHALEN,
MADELINE REILLY, OLIVIA
STARZOMSKI, SARAH                           COMPLAINT AND
ZOFCHAK, TAYLOR ARNOLD,                      JURY DEMAND
and ELISE TURKE, Individually
and on behalf of all those similarly         January 15, 2021
situated,
          Plaintiffs,
v.

MICHIGAN STATE
UNIVERSITY, MICHIGAN
STATE UNIVERSITY BOARD OF
TRUSTEES, SAMUEL L.
STANLEY JR. and BILL
BEEKMAN,

         Defendants.


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                               INTRODUCTION

      This is an action based on long-standing and ongoing violations of Title

IX of the Education Amendments of 1972 by Michigan State University, its

Director of Athletics, President, and Board of Trustees (collectively

“Defendants” or “MSU”). On October 22, 2020, MSU announced its decision to

eliminate its women’s swimming and diving team at the end of the 2020–2021

academic year. Although entirely consistent with the manner in which MSU has

discriminated against female athletes in the past, the decision to disband the teams

nevertheless came as a surprise to the student athletes and their coaches.

      The decision to end the women’s swimming and diving team at MSU has

left the players in limbo. The female student athletes could stay at MSU and keep

their scholarships. However, these women are athletes who trained from an early

age to compete in swimming and diving, were recruited by MSU to compete in

swimming and diving, and turned down other universities across the country in order

to compete in swimming and diving at MSU. The choice to stay and forgo their

dream is not a real choice or a viable option for these Plaintiffs, nor is it a fair


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choice to ask of these student athletes who have given so much of their time,

effort, blood, sweat, and tears to their sports and the university that betrayed their

trust.

         Because MSU persists in its misconduct, this action is brought by the

female swimmers and divers in their individual capacities, as well as on behalf

of all similarly situated student athletes now and in the future, to redress the

undisputed historic and ongoing discriminatory conduct perpetrated by MSU.

                           STATEMENT OF THE CASE

         1.    MSU discriminates against women on the basis of sex by, among other

things, providing substantially fewer and poorer opportunities for women in sports

than for male students.

         2.    If permitted to go through with its intended plan, MSU will compound

its historic Title IX wrongs at the end of 2021, when it terminates the 38-member

women’s varsity swimming and diving team, and with it, MSU terminates all

opportunities for women to compete in intercollegiate varsity swimming and diving

at the university.

         3.    The Administration of MSU, including its President, Athletic Director,

and Board of Trustees have all steadfastly insisted that their decision to eliminate the

team was final and irreversible.




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      4.     Plaintiffs seek to stop Defendants from discriminating against them and

all others similarly situated now and in the future. They seek injunctive relief to

prevent Defendants from eliminating the women’s swimming and diving programs

at the end of the 2020–2021 academic year and to require Defendants to add women’s

varsity athletic opportunities until Defendants offer equal opportunity to participate

in varsity athletics free from discrimination.

      5.     Defendants’ intentional decisions to offer significantly fewer

opportunities for female athletes, eliminate women’s sports despite existing non-

compliance with Title IX, and provide unequal access to facilities and monies for

women’s sports is based upon gender and is, therefore, intentional discrimination.

                          JURISDICTION AND VENUE

      6.     This action arises under Title IX of the Education Amendments of

1972, 20 U.S.C. §§ 1681 et seq., and the regulations and policies promulgated

pursuant to that law, as well as under the Equal Protection Clause of the

Fourteenth Amendment to the United States Constitution, as enforced through 42

U.S.C. § 1983.

      7.     This Court has jurisdiction over Plaintiffs’ federal law claims

pursuant to 28 U.S.C. §§ 1331, 1343(3), and 1343(4); this Court has jurisdiction

over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.




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      8.       Declaratory and other relief is authorized pursuant to 28 U.S.C. §§

2201 and 2202 to obtain the correct interpretation of the legal requirements

described in this Complaint, which are necessary and appropriate to determine

the respective rights and duties of the parties to this action.

      9.       Venue is proper in the United States District Court for the Western

District of Michigan pursuant to 28 U.S.C. § 1391(b) because the events from

which Plaintiffs’ claims arise occurred in East Lansing, Michigan, which is

within the jurisdiction of this Court.

                                   THE PARTIES

      10.      Every spot on the women’s swimming and diving team represents a

lifetime of dreams and the sacrifice it took to make those dreams a reality, including

overcoming life-changing personal, family, economic, and physical challenges both

in and out of the pool. It should be noted that the Plaintiffs here are not in this alone.

While not parties to this lawsuit, the Plaintiffs’ families and coaches are grieving

with them. The parents, who have done their best over many years to encourage their

daughters’ dreams and to support them through their struggles, suffer as only parents

can when those dreams are shattered. The coaches, who worked with, supported, and

mentored the student athletes on a daily basis are now watching much of that work

go to waste.



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      11.   The women’s swimming and diving team at MSU consisted of

dedicated Head Coach Matt Gianiodis, Assistant Head Coach Kathleen Milloy,

Assistant Coach and Diving Coach Eric Best, Assistant Coach Quentin Bishop,

Student Assistant Coach Robbie Dickson, and a group of student athletes who had

developed themselves into community and academic leaders.

                             Plaintiff Sophia Balow

      12.   Plaintiff Sophia Balow is 19 years old and a sophomore majoring in

Business. She has been accepted into MSU’s highly competitive Business School.

      13.   Plaintiff Balow grew up in Plymouth, Michigan. Plaintiff Balow wanted

to swim in college. As a result, she gave up a very prestigious education at some

schools on the East Coast in order to be able to attend and swim at MSU.

      14.   Plaintiff Balow has been swimming since she was seven years old. She

became very competitive in swimming her sophomore year of high school and has

continuously improved. As a freshman she had the fastest mile (1,650-yard freestyle

race) time on the team and was consistently improving her times in other events.

Plaintiff Balow has not yet reached her potential in swimming and, unfortunately,

she now may never know how well she could have done because the program has

been cut.




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      15.    Transferring to a new institution carries with it a number of risks.

Transferring can result in the athlete losing course credits and having to complete an

additional semester or two at their own cost and expense at a new university. Further,

as a result of the National Collegiate Athletic Association (“NCAA”) rules, a student

only has five calendar years to complete their four years of athletic eligibility.

Students who transfer are not automatically eligible to compete the year following a

transfer and, as such, a student athlete can miss valuable playing time from their five

calendar years that they will never be able to recover. These risks, which are

generally applicable to all of the Plaintiffs, are hereafter referred to as the “Transfer

Risks.”

      16.    Transferring is not a viable option for Plaintiff Balow. First, there are

very few Division I swimming and diving spots available around the country.

Plaintiff Balow would also suffer further harm by transferring to another school

based on her acceptance into MSU’s highly competitive Business School, which

means she would have to reapply to another Business School and risk not being

accepted. Additionally, she would suffer the loss of course credits, which would

likely result in her having to spend at least an additional semester or two at her own

cost and expense at a new university.




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                               Plaintiff Ava Boutrous

       17.   Plaintiff Ava Boutrous is 20 years old, a junior, and majoring in

chemistry at MSU. Plaintiff intends to pursue a post-graduate degree in either

medicine or pharmacy.

       18.   Plaintiff Boutrous is from Grosse Pointe Farms, Michigan. She comes

from a swimming family. Plaintiff Boutrous’s father was a Division I swimmer, and

since she was a little girl, Plaintiff Boutrous wanted to follow in her father’s

footsteps. In order to meet those goals, Plaintiff Boutrous chose to sacrifice many of

the normal experiences that high school kids have so that she could focus on

swimming and become a Division I swimmer.

       19.   Plaintiff Boutrous chose MSU for her collegiate swimming career

because of the team chemistry and the coaching. There was a connection amongst

the team and the coaches that she did not see at any of the other schools that she

visited.

       20.   Plaintiff Boutrous is too far along in her academics to transfer to another

institution without suffering the Transfer Risks, including the biggest risk of not

being able to graduate in four years. This would cause unnecessary delay and expense

in her education.

       21.   Additionally, because Plaintiff Boutrous’s swimming career will be

over, she will lose that special connection she had with her father. Swimming was


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always something they could talk about and were able to connect with when so often

fathers and daughters are not able to find common ground. This bond will be stripped

from her and she never would have attended MSU if she had known Defendants

would cut the swimming and diving team.

                              Plaintiff Julia Coffman

      22.    Plaintiff Julia Coffman is originally from Ann Arbor, Michigan. She is

18 years old and is a freshman at MSU on the swimming and diving team.

      23.    Plaintiff Coffman intends to apply to the Business School at the end of

her freshman year to potentially pursue a career in business.

      24.    Plaintiff Coffman started swimming when she was four or five years

old. She has always known that she wanted to swim competitively in college.

      25.    Plaintiff Coffman was recruited at other schools around the country and

was offered scholarships to attend some of those institutions. However, she turned

them down to attend MSU.

      26.    Part of the reason she chose MSU was because of the location. She liked

that she would not have to get on a plane to go home to see her family, which would

have been the case at some of the other schools she was considering. However, a

bigger part of the reason she chose MSU was because she knew approximately 10

other student athletes who were already on the swim team or would be joining the

team with her as freshmen. Knowing these individuals provided her with a


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foundation of having a great team that she was familiar with. More importantly, it

provided her with a support network in helping her with that often tough transition

from high school to college. She anticipated these same connections, and new ones

she would develop with others on the team, would play a significant role in

establishing her professional network after she graduated from college.

      27.    If she had known that MSU was going to cut the program, she would

have chosen to go to a different school.

      28.    Plaintiff Coffman is considering her transfer options, but she is hesitant

because she will not be able to attend a school that has the same support network and

is so close to home. However, Plaintiff Coffman is not ready to give up swimming

yet and will be irreparably harmed if the program is cut.

                                 Plaintiff Kylie Goit

      29.    Plaintiff Kylie Goit is 18 years old and a freshman on the swimming

and diving team. She has indicated her intention to be part of the Business School

and will be applying when the application process is opened.

      30.    Plaintiff Goit is from Canton, Michigan. Plaintiff’s Goit’s older sister is

a junior and also a member of the MSU swimming and diving team. Plaintiff Goit’s

older sister is part of the reason Plaintiff Goit chose to come to MSU. Plaintiff Goit

watched her older sister swim at another school, before transferring to MSU, and saw

her struggles and how hard it was to fit in. When she saw the team at MSU, Plaintiff



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Goit knew it would be a great fit for her and so she chose to go to MSU. She accepted

a 10% scholarship with the understanding that if she worked hard and proved herself,

she could earn more scholarship money each year. Now, she will never have a chance

to earn more scholarship money.

      31.    In high school, Plaintiff Goit was All-State, having placed in the Top 8,

and she was part of two relays that were named All-American. She had full ride

offers in Florida and New York to attend college for free on scholarship, but instead

chose to attend MSU and take only a 10% scholarship.

      32.    If Plaintiff Goit knew that MSU was going to cut the program, she never

would have attended MSU and would have chosen one of the other colleges that were

recruiting her. Transferring now is extremely challenging because her swim times

are over a year old as she has not been able to compete this season due to COVID-

19. Additionally, transferring is extremely complicated because there is no guarantee

that any other school will have a scholarship or even a spot available for her to be on

the team. She also watched her older sister join a program that was not a good fit for

her. She only has one opportunity to transfer. She knew she loved the atmosphere,

environment, coaches, and teammates at MSU. Finding all of those things in the next

school, including scholarship money, is next to impossible.

      33.    Plaintiff Goit unfortunately has already started losing some of the

benefits of being a student athlete on campus in terms of medical care. Plaintiff Goit



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was really struggling with the isolation of the pandemic, and then she was told that

her team was being cut. She sought help from the athletic department, which is

supposed to be providing mental health services. She was told that they only had

limited spots available and that they were going to “save” the appointments, which

she interpreted as meaning they were being saved for athletes that still had a team.

      34.    Plaintiff Goit had the rare benefit of being able to say that she was a

Division I college athlete with her sister on the very same team. Plaintiff had been

swimming with her sister her entire life. Their parents had the ability to watch both

their daughters swim for the same school in the same meet that was just over an

hour’s drive. If Plaintiff Goit wants to swim again, which she does, she will need to

transfer to another school. Whether there are any spots available for her, is a separate

question; the answer unknown at this particular time. However, the most severe

irreparable harm is that her sister, as a junior, cannot feasibly transfer, which means

they will not swim together competitively again.

                                Plaintiff Emma Inch

      35.    Plaintiff Emma Inch is 19 years old and a sophomore at MSU majoring

in marketing. She is originally from Farmington, Michigan.

      36.    Plaintiff Inch has been swimming since she was six years old with her

twin sister. During high school, it became clear that Plaintiff Inch was a great

swimmer while her twin sister was a great runner. Both sisters were recruited by


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MSU to play their respective sports. Initially, Plaintiff Inch did not want to attend

the same college as her sister, but after giving it more thought, she decided that

attending the same university was an important factor in the decision to come to

MSU. Additionally, MSU also had more meaning for Plaintiff Inch as a swimmer

because her uncle was a former captain of MSU’s men’s swimming and diving team.

      37.     Plaintiff Inch had a very successful high school swimming career as she

All-State (top 8) for her sophomore, junior and senior years, and was a part of relay

teams that broke state records. Her success in the pool continued at MSU, where she

made the finals as a freshman in the Big Ten conference meet and scored points for

the team. Plaintiff Inch was part of an upward trend in the program and helped

contribute to the team scoring more points in the conference meet than they had in

many years.

      38.     Plaintiff Inch is actively involved in several committees and has many

leadership roles because she is on the swim team. She is the swim and dive team’s

representative on the Diversity and Leadership Committee and a team representative

for the Student-Athlete Advisory Committee (“SAAC”). Plaintiff Inch had intended

and hoped to become the President of SAAC, but now will be unable to because she

will no longer be a student athlete. These committees provide amazing opportunities

for student athletes to network and meet community members who can offer them

career advice and provide them with job opportunities they would not otherwise



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have. Plaintiff Inch is being irreparably harmed by having these opportunities taken

away from her with the cutting of swimming and diving.

      39.    Plaintiff Inch is not ready to give up swimming and will likely be forced

to transfer if the program is not saved. Plaintiff Inch does not want to transfer as she

is a recognized leader already at MSU and will not have that same status if she must

start over at another university. Transferring would also require giving up the

opportunity to attend college with her twin sister, who has no reason transfer as her

sport has not been cut.

                               Plaintiff Sheridan Phalen

      40.    Plaintiff Sheridan Phalen is 18 years old, a freshman, and is majoring in

nutrition and biology. She also has interest in becoming a teacher so that she can

teach nutrition and biology.

      41.    Plaintiff Phalen is from Alexandria, Virginia. She started swimming

competitively at the age of five. She wanted to come to MSU because she decided

from an early age she wanted to live in a colder climate. She wants to live

permanently in Michigan.

      42.    Plaintiff Phalen is painfully shy. Being part of the swim team has been

good for her because she has been able to make some friends on the swim team,

despite attending school during the global pandemic when very few, if any, of her

classes are in person. Plaintiff Phalen fears that without swimming and having


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practice to go to, she will not make the necessary connections to help her

professionally or emotionally. She will be irreparably harmed without swimming

because she struggles meeting people and forming relationships. Some of her

teammates and friends will be transferring. Her ability to meet people and form

relationships has been limited by the global pandemic and will become absent

entirely if swimming and diving is cut permanently.

                             Plaintiff Madeline Reilly

      43.   Plaintiff Madeline Reilly is a junior and is 20 years old. She is originally

from Greer, South Carolina. Plaintiff Reilly is majoring in kinesiology and plans to

attend medical school after her graduation from MSU.

      44.   Plaintiff Reilly has been swimming as long as she can remember. Both

of her parents swam in college. At the age of 12, she began focusing primarily on

swimming and putting all of her efforts into that sport. It helped her to develop

confidence and taught her how to set and obtain goals.

      45.   Plaintiff Reilly was on track to becoming a four-year varsity letter

earner. This is all being stripped from her now that MSU is attempting to cut the

swimming and diving team.

      46.   As part of her role as a student athlete on the swimming and diving

team, Plaintiff Reilly got to volunteer with pediatrics patients at Sparrow Hospital

as part of a program connecting student athletes to volunteer opportunities at the



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hospital. Volunteering with sick children is what inspired her to want to go to

medical school. She was planning on leading this program next year, but since she

will not be a student athlete, this is likely not going to occur. Plaintiff Reilly is also

involved in SAAC. She will also lose this role and her leadership roles as a committee

member.

         47.   Plaintiff Reilly will not transfer as a junior. Many of her credits would

likely not transfer to another institution. Therefore, transferring would delay her post-

secondary graduation, as well the start of her medical career.

                              Plaintiff Olivia Starzomski

         48.   Plaintiff Olivia Starzomski is 18 years old, a freshman, and is from Sault

Ste. Marie, Ontario, Canada. She is majoring in criminal justice.

         49.   Plaintiff Starzomski was recruited from Canada to join the MSU swim

and dive team. Plaintiff Starzomski has been swimming competitively since she was

five years old. In high school, she and her mother moved to Toronto, away from her

father and brother, so that she could train at the Ontario Swim Academy. She

sacrificed her family so that she could train in the best facilities that Canada had to

offer.

         50.   Plaintiff Starzomski is a two-time Canadian National Champion in the

200 Breaststroke and four-time Provincial Champion in the 200 Breaststroke. She

set the Provincial record for the 100 Breaststroke and was an Olympic Trial Qualifier.


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      51.     Given her success, Plaintiff Starzomski had many opportunities to

swim in college and was heavily recruited. She knew she wanted to come to the

United States to swim and looked at many schools within the Big 10 where she was

offered substantial scholarships. MSU also recruited her and offered her a 90%

scholarship. After vising the campus, she fell in love with MSU and knew she wanted

to complete her college career at MSU.

      52.    Plaintiff Starzomski’s swimming goals do not stop with four years of

college. She intends to swim beyond college and hopefully attend the Canadian

Olympic Trials to make the Canadian National Team, which is a realistic goal for

her considering her success. However, MSU’s decision to cut swimming and diving

is depriving her of the ability to meet this goal. She cannot get better and make the

Olympic team if she does not have the competition.

      53.    Plaintiff Starzomski is understandably concerned about transferring.

Not only is the process stressful, but she only gets one chance to transfer. If this new

school is not a good fit for her, she has no other options and will be stuck there. She

will also be irreparably harmed because she will not get the same level of scholarship

if she is forced to transfer. One school she has already spoken with has indicated that

they have no scholarship money available for the 2021–2022 school year.




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                               Plaintiff Sarah Zofchak

        54.   Plaintiff Sarah Zofchak is a junior and is 20 years old.

        55.   Plaintiff Zofchak was born and raised in Ann Arbor, Michigan. Despite

living in Ann Arbor, she has always been an MSU fan. She is especially partial to

MSU because her older brother swam on the men’s swimming and diving team.

        56.   Plaintiff Zofchak started swimming competitively when she was 6 or 7

years old. She always believed she would be a college swimmer and was not going

to accept anything less. MSU provided the right level of competition for her and

provided her a great team dynamic and coaches.

        57.   Plaintiff Zofchak is a member of the Spartan Buddies and volunteers at

Sparrow Hospital. These types of organizations, as well as having a network of

teammates and all the alumni that came before her on the swimming and diving team,

have been absolutely imperative to Plaintiff Zofchak’s growth, both in and out of the

pool.

        58.   Plaintiff Zofchak does not know if she will have access to the same

network if she were to transfer to another school. For instance, the alumni event

hosted by the swimming and diving team is one of the longest running of such events

in the country. Now that there is no team, Plaintiff Zofchak will lose those

networking opportunities, as well as the chance to form those emotional connections



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with new athletes that come after her. If the team is cut, she will not have the

opportunity to share the wisdom of what she learned with those who would have

otherwise joined the swimming in the future.

                                Plaintiff Taylor Arnold

      59.    Plaintiff Taylor Arnold is 21 years old and a senior at MSU majoring in

Special Education and minoring in Teaching English to Speakers of Other

Languages.

      60.    Plaintiff Arnold resides in Hudsonville, Michigan. Growing up, her

family always supported MSU, and she was raised as a fan of the Spartan culture.

Plaintiff Arnold’s older sister attended MSU, which helped solidify her decision to

attend MSU even more after visiting campus and learning about the team.

      61.    Being a member of the swimming and diving team, Plaintiff Arnold was

afforded opportunities that are impossible to replace. She had a swimming “family”

that she could rely upon for help on everything from personal issues to selecting her

classes. She understands now that women coming after her will not have the same

opportunities that she did in being a student athlete. This is especially true in the area

of perseverance and adversity. Being a member of the swimming and diving team

taught her that even when you do not get the best results, you keep trying and

working hard. Through this process she developed stronger friendships.




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      62.    In the future, being an alumni of MSU will not have the same weight or

recognition to future employers when the swimming and diving team no longer

exists. It also does not have the same prestige for being in the Big 10 and a Power 5

conference when the school no longer wishes to support the sport.

      63.    The women’s swimming and diving team has had the highest GPA for

the past two out of three years. Defendant Beekman has made public statements that

the team was not good enough for MSU athletics, which was not only insulting, it is

false. The loss of the team is irreparable and hurts Plaintiff Arnold’s future job

prospects. Plaintiff Arnold and her teammates are now left with no community

when returning to campus, no alumni meets, and they are losing meaningful

connections with other MSU alumni.

                                 Plaintiff Elise Turke

      64.    Plaintiff Elise Turke is 22 years old and a senior at MSU. She is

majoring in neuroscience and minoring in Spanish and is originally from Grand

Rapids, Michigan.

      65.    While she is a senior on the team, she has been irreparably harmed by

the cutting of the swimming and diving team. Being part of the team is a big part of

her identity as a student athlete.

      66.    When the cutting of the swimming and diving team was announced,

Defendant Beekman made it personal to the swimming and diving team by claiming


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that, because the swimming and diving team was not successful enough, the team

had to be cut. This is despite the fact that the women’s swimming and diving team

had the highest GPA of any MSU team and was on an upward trend in their

competitions.

      67.    Plaintiff Turke has applied and been accepted to medical school. In her

interviews and essays, she focused her responses on what she had learned from being

a student athlete at MSU. There are countless women out there who will never have

this same chance to experience what it is like to be a Division I swimmer and diver

at MSU, and they will be forever harmed irreparably.

                       Defendant Michigan State University

      68.    Defendant MSU is a principal campus of the Michigan State University,

which is an Educational Corporation formed under existing state law in the State of

Michigan. MSU’s campus and principal place of business is located in East Lansing,

Michigan, which is within this Court’s jurisdiction.

      69.    Defendant MSU is a recipient of federal funds and is required to comply

with Title IX and all implementing regulations.

      70.    Defendant MSU holds itself out as a university committed to providing

top-quality intercollegiate sports programs. The university uses this distinction as

part of its efforts to recruit top student athletes and coaching staff. Under Title IX of




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the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., and the regulations

adopted pursuant to 34 C.F.R. Part 106 (collectively “Title IX”), Defendant MSU

must provide equality of opportunity for women and men in every program it offers,

including equal opportunities for male and female athletes in intercollegiate sports

programs.

                                Defendant Bill Beekman

      71.    Defendant Bill Beekman is and has been the Director of Athletics of

MSU since 2018. Defendant Beekman is an employee and agent of Defendant MSU

who reported directly to and was under the direct supervision and control of

Defendant Samuel Stanley at all times relevant to this Complaint.

      72.    In his role, Defendant Beekman is responsible for ensuring all policies

and practices at MSU comply with Title IX.

      73.    Defendant Beekman is aware of requirements under Title IX, which

prohibit discrimination on the basis of sex.

      74.    Defendant Beekman is aware of his duty to ensure students are treated

equally regardless of gender.

      75.    Defendant Beekman is aware that MSU’s varsity athletic team members

are segregated by gender within each sport.




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                         Defendant Samuel L. Stanley, Jr.

       76.   Defendant Samuel Stanley, Jr. is and has been the President of

Defendant MSU since 2019. Defendant Stanley is the highest-ranking employee of

Defendant MSU and provided final administrative approval of all decisions by

Defendant Beekman regarding cutting athletic programs.

       77.   As President of MSU, Defendant Stanley is aware of requirements

under Title IX, which prohibits discrimination on the basis of sex.

       78.   As President of MSU, Defendant Stanley is also aware of his duty to

ensure students are treated equally regardless of gender.

                           Defendant Board of Trustees

       79.   Defendant Board of Trustees is the governor board over Defendant

MSU.

       80.   Defendant Michigan State University Board of Trustees (“Michigan

State Board of Trustees”) is an eight-member board responsible for making rules and

regulations to govern Michigan State. The election of these Trustees is prescribed

by Article XIII, Section 5 of the Michigan State Constitution and Michigan Election

Law section 168.286.




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      81.    Defendant Board of Trustees has control and direction over all

expenditures of the University’s funds, including federal financial assistance

pursuant to M.C.L. § 390.553.

             Dianne Byrum

      82.    Dianne Byrum was at all relevant times the Chair of the Board of the

governing Board of Trustees of Defendant MSU, the governing body which provided

the authorization and final approval of the illegal elimination of the women’s

swimming and diving program.

              ALLEGATIONS AS TO THE PLAINTIFFS CLASS

      83.    The named Plaintiffs bring this action on behalf of themselves and on

behalf of a class of all those similarly situated both now and in the future pursuant to

Federal Rules of Civil Procedure 23(a) and (b)(2).

      84.    The Plaintiffs seek to represent a class of all present, prospective, and

future female students at MSU who are harmed by and want to end MSU’s sex

discrimination in: (1) the allocation of athletic participation opportunities; (2) the

allocation of athletic financial assistance; and (3) the allocation of benefits provided

to varsity athletics. The Plaintiffs seek to represent a class of all present, prospective,

and future female students at MSU who want to participate in the recently eliminated

varsity sport of women’s swimming and diving or who want to participate in other



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varsity sports not offered to women by MSU. They also seek to represent those

female student athletes who are deterred from enrolling at MSU because it does not

offer women the sport they wish to play.

      85.    Each of the named Plaintiffs is a member of the proposed class and has

been or will be injured by MSU’s sex discrimination in its varsity athletic program.

MSU’s announced elimination of the women’s varsity swimming and diving

program will exacerbate the discrimination by eliminating female athletic

participation opportunities at MSU.

      86.    The Plaintiffs seek to represent the proposed class because joinder of all

class members and all persons harmed by the ongoing sex discrimination in

Defendants’ varsity athletic program is not only impracticable, but impossible.

      87.    The proposed class is known to exist, but the identity of its members is

and will continue to change without specific names during this litigation because of

the nature of college enrollment and athletic participation. Students at MSU generally

aim to graduate four years after they matriculate. Athletes are eligible for only four

years, according to the rules of the NCAA. Accordingly, the members of the class

harmed by MSU’s discriminatory actions constantly change as each class of students

graduate and as another class of students enrolls at MSU.




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      88.    Not all members of the plaintiff class are currently identifiable because

the class includes prospective and future students who will enroll at MSU during this

litigation or who will be deterred from enrolling at MSU because of Defendants’

failure to provide athletic participation opportunities for female student athletes,

including the sports in which they want to participate.

      89.    Not all members of the plaintiff class are currently identifiable because

the class includes not only swimmers and divers, but also all present, prospective,

and future female students who want to participate in other varsity intercollegiate

sports that are not offered at MSU.

      90.    It is unknown how many present, prospective, or future female student

athletes would enroll at MSU or would participate in athletics at the university if it

stopped discriminating against women. Also unknown are the hundreds of additional

student athletes who might apply, who might be recruited, and who might participate

in athletics at MSU if, for example, it added the approximately 42 athletic

opportunities necessary to reach proportional equality of opportunity for women

participating in intercollegiate sports at MSU before the announced elimination of

the women’s swimming and diving program was made.

      91.    Joinder is impracticable because the class includes members whose

identities are not currently known. On information and belief, there are present



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female students at MSU whose names are currently unknown but who would

participate in varsity athletics if MSU did not intentionally discriminate in the

operation of its athletic program or offered the sports or events in which the female

students want to participate.

      92.    Joinder is impracticable because the class includes unknown and

unidentifiable prospective and future students who will enroll at MSU during the

course of this litigation or who will be deterred from enrolling at MSU because of

the sex discrimination in Defendants’ varsity athletic program.

      93.    Joinder is also impracticable because of the inherently fluid nature of

the proposed class. Even though the proposed class is known to exist, the identities

of its members will change during the course of this litigation due to the nature of

college enrollment and athletic participation. Accordingly, the membership of the

class harmed by Defendants’ intentional sex discrimination constantly changes as

students graduate from MSU and as new classes/groups of graduating high school

students enroll as freshmen at MSU.

      94.    The Plaintiffs satisfy the “commonality” requirement of Federal Rule

of Civil Procedure 23(a)(2) because they share questions of law and fact in common

with the proposed class, particularly whether MSU is violating Title IX by failing to

provide female student athletes with an equal opportunity to participate in varsity



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intercollegiate athletics. Because Title IX requires comparison of the sex-segregated

men’s and women’s athletic opportunities as a whole, the Title IX issues in this

action are inherently class based.

      95.    The Plaintiffs satisfy the “typicality” requirement of Federal Rule of

Civil Procedure 23(a)(3) because their claims are typical of those of the proposed

class. They all have been denied, are continuing to be denied, or will be denied an

opportunity to participate in varsity intercollegiate athletics at MSU because of its

ongoing sex discrimination. All of them want the Court to restrain MSU from

continuing its elimination of any women’s varsity sports opportunities and to require

it to restore and reinstate swimming and diving and add more women’s varsity sports,

as well as comply with all aspects of Title IX.

      96.    The Plaintiffs are members of the proposed class and will fairly and

adequately represent the interests of the class pursuant to Federal Rule of Civil

Procedure 23(a)(4). They intend to prosecute this action vigorously in order to

secure fair and adequate injunctive relief for the entire class.

      97.    The Plaintiffs satisfy the requirement that class certification would be

superior to other methods available for the fair and efficient adjudication of the

controversy required by Federal Rule of Civil Procedure 23(b)(2) because MSU has

acted or refused to act on grounds generally applicable to the class—denying female



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student athletes an opportunity to participate in varsity intercollegiate athletics,

including but not limited to, women’s varsity swimming and diving, thereby making

final declaratory and injunctive relief appropriate with respect to the class as a whole.

       98.   Undersigned counsel has devoted substantial and sufficient efforts to

identify and investigate potential claims in this action, to developing knowledge of

the applicable law, and has sufficient resources to commit to representing this

putative class as interim counsel under Federal Rule of Civil Procedure 23(g)(3) until

such time as this Court determines whether to certify the action as a class action.

                           GENERAL ALLEGATIONS

The Department of Education Interpretations of Title IX Compliance

       99.   Title IX requires in relevant part at 20 U.S.C. § 1681(a):

             No person in the United States shall, on the basis of sex,
             be excluded from participation in, be denied the benefits
             of, or be subjected to discrimination under any education
             program or activity receiving Federal financial assistance.
       100. Women’s swimming and diving at MSU qualifies as a program or

activity.

       101. MSU receives federal financial assistance as a public institution, even

if the women’s swimming and diving program specifically did not receive federal

funding.




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      102. Defendant Board of Trustees has control and direction over all

expenditures of the University’s funds, including federal financial assistance

pursuant to M.C.L. § 390.553, and specific persons, as detailed above, had actual

knowledge of the discriminatory acts at issue in this matter.

      103. The Civil Rights Restoration Act of 1987 made plain Congress’s intent

that “program or activity,” as used in Title IX, applies to any program or activity

offered by an educational institution that receives federal financial assistance—

whether or not the program itself receives such assistance. 20 U.S.C. § 1687. Because

MSU receives federal financial assistance, its athletic program is subject to Title IX

and MSU must comply with its requirements.

      104. In the statute, Congress expressly delegated authority to the United

States Department of Health, Education and Welfare (“HEW”) to promulgate

regulations interpreting Title IX. 20 U.S.C. §1682. In 1975, HEW promulgated these

regulations at 45 C.F.R. Part 86. The United States Department of Education

(“DOE”) later adopted these regulations and codified them at 34 C.F.R. Part 106

(collectively, the “Regulations”). These regulations are enforced by the Office for

Civil Rights (“OCR”) within the DOE.

      105. The Regulations require that federal funding recipients such as MSU

undertake remedial and affirmative efforts to eliminate sex discrimination. 34 C.F.R.

§ 106.3(a) & (b). They further direct schools to evaluate their own policies and


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actions; to modify any policies and actions that are discriminatory; and to take

remedial steps to eliminate the effects of discriminatory actions. 34 C.F.R. §

106.3(c). These mandates apply whether or not anyone has complained about

discrimination.

         106. Defendant has not undertaken sufficient remedial or affirmative action

to remedy the historical and ongoing sex discrimination in its athletic program.

         107. The Regulations require that recipients such as MSU adopt

nondiscrimination policies and grievance procedures; appoint and train a Title IX

officer to receive and investigate sex discrimination complaints; and disseminate this

information to all students, faculty, and employees. 34 C.F.R. §§ 106.8 & 106.9.

         108. The Regulations further require that recipients confirm and promise

compliance by filing an Assurance of Compliance with the DOE each time they

apply for or receive federal financial assistance. 34 C.F.R. § 106.4. The Assurance

is a condition precedent to the receipt of federal funds. In the Assurance, schools

must assure the DOE that they comply with Title IX and that they will continue to

do so. The Assurance also commits applicants/recipients “to take whatever remedial

action is necessary in accordance with § 106.3(a) to eliminate existing discrimination

on the basis of sex or to eliminate the effects of past discrimination.” 34 C.F.R. §

106.4.




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      109. MSU has completed and submitted many Assurance of Compliance

forms to the DOE and has received federal funds from the DOE even though MSU’s

athletic program has never complied with Title IX.

      110. The Regulations include specific prohibitions that state:

             in providing any aid, benefit, or service to a student, a
             recipient shall not, on the basis of sex
             (1) Treat one person differently from another in
             determining whether such person satisfies any
             requirement or condition for the provision of such aid,
             benefit, or service;

             (2) Provide different aid, benefits, or services or provide
             aid, benefits, or services in a different manner;
             (3) Deny any person any such benefit or service;

             …
             (6) Aid or perpetuate discrimination against any person by
             providing significant assistance to any agency,
             organization, or person which discriminates on the basis
             of sex in providing any aid, benefit, or service to students
             or employees.
      111. The Regulations also prohibit sex discrimination in the recruitment of

students. Schools may be required to undertake additional recruitment efforts for one

sex as remedial action pursuant to § 106.3(a) and may choose to undertake such

efforts as affirmative action pursuant to § 106.3(b).

      112.   Upon information and belief, MSU has not undertaken sufficient

remedial or affirmative recruiting efforts to ensure that it offers female students an



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equal opportunity to participate in varsity athletics; nor has it provided its women’s

teams with the resources necessary to adequately recruit female athletes with NCAA

Division I athletic skills.

       113. In 1979, the OCR issued a policy interpretation of Title IX and the

Regulations as applied to intercollegiate athletics at 44 Fed. Reg. at 71418 (the

“Policy Interpretation”). The Regulations prohibit sex discrimination in the

allocation of athletic scholarships. In particular, 34 C.F.R. § 106.37(c) provides:

              To the extent that a recipient awards athletic scholarships
              or grants-in-aid, it must provide reasonable opportunities
              for such awards for members of each sex in proportion to
              the number of students of each sex participating in
              interscholastic or intercollegiate athletics.

       114. Regulation 34 C.F.R § 106.41(a) requires that recipients provide

athletic equity at each separate level of competition. In particular, it states:

              No person shall, on the basis of sex, be excluded from
              participation in, be denied the benefits of, be treated
              differently from another person or otherwise be
              discriminated      against     in     any    interscholastic,
              intercollegiate, club or intramural athletics offered by a
              recipient, and the recipient shall provide any such athletics
              separately on such basis.

       115. The Regulations identify ten (10) non-exclusive areas in which

recipients must provide equal athletic opportunity. These include:

              1. Whether the selection of sports and levels of
              competition effectively accommodate the interests and
              abilities of members of both sexes;


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            2. The provision of equipment and supplies;
            3. Scheduling of games and practice time;
            4. Travel and per diem allowance;
            5. Opportunity to receive coaching and academic tutoring;
            6. Assignment and compensation of coaches and tutors;
            7. Provision of locker rooms, practice and competitive
            facilities;
            8. Provision of medical and training services;
            9. Provision of housing and dining facilities and services;
            and
            10. Publicity.
34 C.F.R. § 106.41(c). A school’s “failure to provide necessary funds for teams for

one sex” also may be indicative of sex discrimination. Id.

      116. The OCR Policy Interpretation sets forth three areas of compliance

under Title IX: (1) effective accommodation of student interests and abilities; (2)

equal athletic financial assistance; and (3) equal treatment and benefits for athletic

teams.

      117. MSU fails all three areas of compliance. This lawsuit seeks to remedy

MSU’s intentional sex discrimination regarding: (1) the allocation of athletic

participation opportunities; (2) the allocation of athletic financial assistance; and (3)

the allocation of benefits provided to varsity athletic teams.

      118. The OCR Policy Interpretation provides three ways—commonly

referred to as prongs one, two, and three—for a university to comply with the

requirement to provide effective accommodation of students’ interests and abilities:




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            (1) Whether intercollegiate level participation
            opportunities for male and female students are provided in
            numbers substantially proportionate to their respective
            enrollments; or

            (2) Where the members of one sex have been and are
            underrepresented among intercollegiate athletes, whether
            the institution can show a history and continuing practice
            of program expansion which is demonstrably responsive
            to the developing interest and abilities of the members of
            that sex; or

            (3) Where the members of one sex are underrepresented
            among intercollegiate athletes, and the institution cannot
            show a continuing practice of program expansion such as
            that cited above, whether it can be demonstrated that the
            interests and abilities of the members of that sex have been
            fully and effectively accommodated by the present
            program.

      119. Compliance in the area of equal athletic benefits is assessed under the

factors set forth in 34 C.F.R. 106.41(c) plus recruitment and support services. The

specific requirements are detailed in the Policy Interpretation. See 44 Federal

Register 71,413, 71,415–71,417 (1979).

      120. Compliance in the area of equal athletic financial assistance is assessed

pursuant to 34 C.F.R. §106.37 and the Policy Interpretation. See 44 Fed. Reg. at

71,415. The OCR’s application of these requirements is detailed in a “Dear

Colleague” letter dated July 23, 1998, which incorporated the OCR’s July 23, 1998

guidance to Bowling Green University.




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      121. Every federal court of appeals that has considered the OCR’s

regulations and policy guidelines, including the three-part test, has upheld them as

valid and has given them deference in assessing Title IX compliance, including the

Sixth Circuit. See Mayerova v. E. Michigan Univ., 346 F. Supp. 3d 983, 989 (E.D.

Mich. 2018), appeal dismissed, No. 18-2238, 2020 WL 1970535 (6th Cir. Apr. 20,

2020) (citing Miami Univ. Wrestling Club v. Miami Univ., 302 F.3d 608, 615 (6th

Cir. 2002) (according deference to 1979 Policy Interpretation); see also Equity in

Athletics v. Dep’t of Educ., 504 F. Supp. 88, 102–05 (W.D. Va. 2007), aff’d 291 2008

WL 4104235 (4th Cir. 2008); McCormick v. School Dist. Mamaroneck, 370 F.3d

273, 288 (2d Cir. 2004); Chalenor v. Univ. of N.D., 292 F.3d 1042, 1046-47 (8th Cir.

2002); Miami Univ. Wrestling Club v. Miami Univ. of Ohio, 302 F.3d 608, 615 (6th

Cir. 2002); Pederson v. La. State Univ., 213 F.3d 858, 877–79 (5th Cir. 2000); Neal

v. Bd. of Trustees, 198 F.3d 763, 770–72 (9th Cir. 1999); Boulahanis v. Bd. of

Regents, 198 F.3d 633, 637–39 (7th Cir. 1999); Horner v. Ky. High Sch. Athletic

Ass’n, 43 F.3d 265, 273, 274–75 (6th Cir. 1994); Kelley v. Bd. of Trustees, 35 F.3d

265, 270–72 (7th Cir. 1994); Cohen v. Brown Univ., 991 F.2d 888, 895, 899 (1st Cir.

1993) (“Cohen I”); Roberts v. Colo. State Bd. of Agric., 998 F.2d 824, 828 (10th Cir.

1993); Nat’l Wrestling Coaches Ass’n v. U.S. Dep’t of Educ., 263 F. Supp. 2d 82,




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94–96 (D.D.C. 2003), aff’d 366 F.3d 930 (D.C. Cir. 2004); Favia v. Indiana Univ.

of Pa., 812 F. Supp. 578, 584–85 (W.D. Pa. 1993), aff’d 7 F.3d 332 (3d Cir. 1993).

       122. The Regulations require that sponsors of intercollegiate athletics like

MSU take such remedial actions as are necessary to overcome the effects of sex

discrimination in violation of Title IX. See 24 C.F.R. § 106.3(a). On information and

belief, MSU has not taken any recent remedial actions to satisfy its obligations under

Title IX, nor has MSU ever provided females with an equal opportunity to participate

in varsity athletics.

       123. The Regulations also require that sponsors of interscholastic athletics

comply with the athletics regulations within three years of their effective date (which

was July 21, 1975). On information and belief, MSU did not comply with the

athletics regulations by 1978 and is still not in full compliance with Title IX today—

42 years later.

                           FACTUAL ALLEGATIONS

       124. As of the beginning of the 2020–2021 academic and sports calendar,

MSU sponsors men’s and women’s teams, including baseball, men’s and women’s

basketball, men’s and women’s cross country, football, men’s and women’s golf,

gymnastics, men’s ice hockey, rowing, softball, men’s and women’s soccer, men’s




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and women’s swimming and diving, men’s and women’s tennis, men’s and women’s

track and field, volleyball, and wrestling.

      125. MSU is a member of the NCAA, a member of a Power Five conference

(the Big Ten Conference), and participates in Division I, the highest level of

intercollegiate competition.

      126. In choosing which sports it will offer to the students of each sex, MSU

chooses how many varsity athletic participation opportunities it provides to male

students and how many athletic participation opportunities it provides to female

students. This fact makes athletics unlike other educational programs in which male

and female students participate together or compete against each other for the same

opportunities or class slots on an equal basis.

      127. As Athletic Director, Defendant Beekman is responsible for overseeing

MSU’s athletic program.

      128. MSU offers athletic financial assistance (i.e., athletic scholarships) to

members of its varsity athletic teams.

      129. The Plaintiffs chose to attend MSU in order to participate on the

swimming and diving team. They expected to participate on their team each of their

years at MSU and planned their academic, personal, and financial lives accordingly.

They would not have enrolled at MSU but for the opportunity to participate in




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women’s swimming and diving, and in many cases, the receipt of an athletic and/or

academic scholarship.

         130. On October 22, 2020, MSU announced that it will no longer sponsor

women’s swimming and diving after the conclusion of the 2020–2021 academic

year.

         131. The swimming and diving team averages 35 athletes each year. The

elimination of this program does not bring MSU into compliance with Title IX. MSU

already discriminates against its female students by offering too few athletic

opportunities and providing less meaningful opportunities to women by padding

some of their team rosters. By eliminating women’s swimming and diving, MSU

will make this discrimination worse—despite also eliminating some men’s

opportunities.

         132. Specifically, MSU is providing less meaningful opportunities to women

by padding rowing, women’s cross country, and women’s track and field rosters.

         133. MSU exploited the average squad size for women’s rowing and

women’s track by requiring those teams to carry more women on a team than is

appropriate and necessary. Specifically, the NCAA Division I average rowing squad

in 2018–2019 was 62.8. MSU carried a rowing squad of 89.




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      134. The Division I average of all the track teams combined (cross country,

indoor track and field, and outdoor track and field) was 96.9 in 2018–2019. MSU

carried 173 on their track squads that same year. Furthermore, in that same year,

approximately 66 of those 173 women never participated in a competition for their

respective track or cross country team.

      135. Combined, that is 102 women above the average sizes of those teams

among other Division I institutions.

      136. MSU promotes its athletic programs in order to recruit top athletes. Its

website lauds the significant dollars that have been invested for the improvement of

its athletic facilities: Michigan State University recently announced that it plans to

revamp its facilities by including a brand-new indoor football facility, as well as

renovating existing facilities. This recently unveiled plan will cost hundreds of

millions of dollars. Some renovations and additions have already started despite

MSU claiming it does not have sufficient funds to support women’s swimming and

diving.

      137. Upon information and belief, Defendant Beekman did not conduct

appropriate research for alternative funding, redistribution of funding or assets, or

any other options that would not require eliminating sports at MSU.




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      138. Defendant Beekman, with the knowledge and consent of President

Stanley and the Board of Trustees, and notwithstanding his knowledge of MSU’s

non-compliance and his responsibilities to the student athletes as Athletics Director

of MSU, expressly supported the unlawful decision to terminate the women’s

swimming and diving team.

      139. On November 16, 2020, Plaintiff’s counsel sent Defendants a letter

regarding the elimination of the women’s varsity swimming and diving program,

explaining why the elimination of the program constitutes sex discrimination under

Title IX, and requesting a dialog about the continuation of the women’s swimming

and diving team.

      140. Defendants responded by stating that they believed they were in

compliance with participation requirements of Title IX pursuant to MSU’s Equity in

Athletics Disclosure Act (“EADA”) data.

      141. Defendants did not address any other areas of Title IX compliance.

      142. Pursuant to the most recently available EADA data for the 2018–2019

academic year, MSU had a participation gap of 25 women to reach participation

parity with their undergraduate enrollment gender breakdown.

      143. MSU had a participation gap of 25 women before it eliminated the

swimming and diving team.




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      144. This participation gap does not take into consideration MSU’s roster

padding for its women’s rowing, women’s cross country, women’s indoor track and

field, and women’s outdoor track and field teams.

      145. “As a baseline, OCR will consider substantial proportionality achieved

if the number of additional participants necessary required for exact proportionality

would not be sufficient to sustain a viable team.” Biediger v. Quinnipiac Univ., 691

F.3d 85, 94 (2d Cir. 2012) (citing 1996 Clarification at 4).

      146. MSU’s undenied participation gap of 25 women is more than sufficient

to field a viable team and the true participation gap is significantly larger.

      147. MSU is also currently—and will be even more through the cutting of

swimming and diving—depriving female athletes of equitable scholarships that it is

providing to men.

      148. According to the 2018–2019 EADA data, MSU is depriving female

student athletes in scholarships by $462,047.00.

      149. At all times, MSU is in control and responsible for providing equitable

scholarships to its student athletes, regardless of how many scholarships the NCAA

dictates may be provided for an individual sport. If one sport provides more

scholarship opportunities by the NCAA, MSU has the responsibility to find equitable

scholarship opportunities in other sports.




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                             INJUNCTIVE RELIEF

      150. Plaintiffs are entitled to injunctive relief under all their claims that

restrains MSU from continuing to discriminate on the basis of sex, restrains MSU

from eliminating the women’s varsity swimming and diving program, and requires

MSU to provide its female students participation opportunities in varsity

intercollegiate athletics by sponsoring additional women’s varsity athletic

opportunities based upon the interests and abilities of MSU’s present, prospective,

and future students.

      151. Failure to grant the requested injunctive relief will cause irreparable

harm to the Plaintiffs by continuing MSU’s discrimination against them and MSU’s

present, prospective, and future female students, and by forever denying them an

equal opportunity to participate in varsity intercollegiate athletics. If MSU is not

restrained from eliminating women’s varsity swimming and diving, Plaintiffs will

never again have the opportunity to participate in this valuable educational

experience at MSU—one that provides academic, physical, psychological, social,

and even economic benefits for the rest of the participants’ lives. There is no

adequate remedy at law for this harm.

      152. The continuing, irreparable harm caused by MSU’s discriminatory

actions far outweighs any possible harm that granting the injunctive relief might




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cause Defendants. Preliminarily enjoining Defendants’ elimination of the varsity

women’s swimming and diving program in particular merely ensures retention of the

status quo during the course of this litigation, because these athletes have limited (if

any) opportunities to pursue their interests and abilities elsewhere. MSU will suffer

no harm by reinstating the women’s varsity swimming and diving program, other

than the monetary cost of the program that it has already borne for many years.

      153. Defendants could choose to allocate its budget and athletic

opportunities more equitably merely by shifting its longstanding favoritism toward

men to a equitable allocation between men and women.

      154. Defendants will gain public relations and enrollment advantages by

coming into compliance with Title IX and by offering more opportunities for female

students.

      155. The injunctive relief that Plaintiffs request will promote the public

interest in that it will increase educational opportunities for female students, will end

sex discrimination at MSU, and will promote compliance with federal law. Congress

decided that such nondiscrimination is in the public interest when it enacted Title IX.

It has reaffirmed that public interest over the past 42 years by defeating each and

every attempt that has been made to weaken Title IX. Equal opportunity for all




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students—male and female—is at the core of this case, is at the core of American

identity, and is clearly in the public interest.

                                   COUNT I
                                    Title IX
           (Unequal Allocation of Athletic Participation Opportunities)

        156. Plaintiffs re-allege and incorporate by reference all of the foregoing

allegations.

        157. The Plaintiffs bring this claim as a class action as set forth in the Class

Allegations.

        158. By offering certain opportunities to male students to participate in

intercollegiate athletics, MSU has demonstrated its belief that athletic opportunities

provide educational benefits that should be supported by the University. Plaintiffs

agree that athletic opportunities provide valuable educational benefits. For this very

reason, the Plaintiffs—and the class they represent—should have equal access and

opportunity to receive the benefits that the male students at MSU receive from

intercollegiate athletics. MSU historically has not provided and currently does not

provide its female students with such equal access and opportunity.

        159. MSU determines the number of athletic participation opportunities that

it will provide to male and female students by choosing which sports it will offer to

each sex by deciding how many athletes it will allow to participate on each sports

team.



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      160. Defendants fail to provide female students an equal opportunity to

participate in varsity intercollegiate athletics in violation of Title IX and 34 C.F.R.

§106.41(c)(1).

      161. Defendants fail to comply with each prong of the three-part test

described above. In particular:

             (1) The ratio of female to male athletes at MSU is not
             substantially proportionate to the overall ratio of female to male
             undergraduate students at Defendant.

             (2) MSU does not have a history or continuing practice of
             athletics program expansion for women.

             (3) MSU has failed to fully and effectively accommodate the
             athletic interests and abilities of its female students by, among
             other things, eliminating their opportunity to participate in
             varsity swimming and diving.

      162. According to information provided by Defendants to the federal

government in its annual EADA reports, Defendants’ female undergraduate

enrollment rate is approximately 51.2% while its female athletic participation rate is

only about 49.9%.

      163. Furthermore, on information and belief, for the 2020–2021 academic

year, Defendants’ female undergraduate enrollment rate is approximately 51.34%

while its female athletic participation rate is only about 48.65%. Defendants do not

provide female students with varsity athletic participation opportunities in a number

substantially proportionate to female undergraduate enrollment.




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       164. Defendants failed to meet the 1978 regulatory deadline for compliance

with Title IX’s requirement for equity in athletic participation opportunities. MSU

has never met its compliance obligations and has not added any new female varsity

sports since 1998. Defendants cannot show a history or continuing progress of

program expansion for women. Instead, by eliminating women’s varsity swimming

and diving, the Defendants have gone backwards.

       165. Plaintiffs have the interest and ability to participate in women’s varsity

swimming and diving. High school students (the source of Defendants’ incoming,

prospective, and future students) also have the interest and ability to participate in

swimming and diving as swimming is among the top ten most popular girls’ high

school sports. Competition exists in swimming and diving because it is a major

NCAA sport and MSU has offered the sport for many years—as have other schools

in the Big Ten.

       166. Defendants will exacerbate its existing pattern and practice of sex

discrimination in its allocation of athletic participation opportunities if it is not

restrained from eliminating female athletic participation opportunities in varsity

swimming and diving.

       167. Plaintiffs seek a declaration that Defendants engaged in disparate

treatment on the basis of sex by failing to offer female students an equal opportunity

to participate in intercollegiate athletics.



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      168. Plaintiffs seek expedited preliminary and permanent injunctive relief

requiring Defendants to stop discriminating in the operation of its athletic department

and ordering Defendant not to eliminate women’s swimming and diving, or any

women’s varsity athletic team or opportunity.

      169. As a result of Defendants’ discriminatory actions, the Plaintiffs have

been denied and/or imminently will be denied their civil right to pursue an equal

opportunity to participate in varsity intercollegiate athletics. They have been denied

the educational, economic, physical, psychological, and social benefits of athletic

participation. They have incurred or imminently will incur economic and

compensatory damages associated with, among other things, lost opportunities,

applying/transferring to other schools, moving to other schools, transferring/losing

graduation credits, emotional distress, lost self-esteem, humiliation, and the denial

of equal opportunity because of sex.

      170. If Defendants are not restrained from eliminating the women’s varsity

swimming and diving program, all of these female athletes may forever lose the

opportunity to participate in intercollegiate sports—an opportunity that lasts only

four years in a lifetime but has lifelong educational, economic, physical,

psychological, and social benefits.




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                                   COUNT II
                                     Title IX
               (Unequal Allocation of Athletic Financial Assistance)

       171. Plaintiffs reallege and incorporate herein by this reference all of the

foregoing paragraphs of this complaint.

       172. The Plaintiffs bring this claim as a class action as set forth under the

Class Allegations.

       173. MSU provides athletic financial assistance to some of its varsity

athletes.

       174. Under Title IX, MSU must provide its female students with an equal

allocation of any athletic financial assistance. Under 34 C.F.R. §106.37, an equal

allocation means that MSU must provide its female athletes with athletic financial

assistance in the same proportion that it allocates athletic participation opportunities

to male athletes.

       175. Defendants fail to provide female student athletes with an equal

allocation of athletic financial assistance. This failure constitutes disparate treatment

sex discrimination in violation of Title IX and 34 C.F.R. § 106.37.

       176. MSU does not provide athletic financial assistance to its female athletes

that is substantially proportional to its female athletic participation as required to

comply with Title IX. As a result, it is not only more difficult to recruit athletes, but

also to recruit athletes with sufficient skill to participate at the Division I level.



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      177. Plaintiffs are harmed by Defendants’ failure to provide its female

students with an equal allocation of athletic financial assistance. Such harm includes

lost educational opportunities, financial assistance, and lost quality in participation

opportunities. Accordingly, they are entitled to the relief requested herein.

                                 COUNT III
                                    Title IX
            (Unequal Allocation of Athletic Treatment and Benefits)

      178. Plaintiffs reallege and incorporate herein by this reference all of the

foregoing paragraphs of this complaint.

      179. The Plaintiffs bring this claim as a class action as set forth under the

Class Allegations.

      180. MSU provides its varsity student athletes with certain benefits,

including but not limited to, equipment, supplies, uniforms, locker rooms, scheduling

for competitions, transportation and accommodations for travel, per diem for travel,

coaching, tutoring and academic support services, practice and competition facilities,

medical and training services, weight training and conditioning services, housing and

dining services, sports information and publicity services, recruiting, video support,

and other services.

      181. Under Title IX and 34 C.F.R. §106.41(c), MSU must allocate these

benefits equally between male athletes and female athletes. On a program-wide basis,




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it must provide female athletes with benefits that are comparable to those that it

provides to male athletes.

      182. Defendants fail to provide female student athletes with an equal

allocation of these benefits. This failure constitutes disparate treatment sex

discrimination in violation of Title IX.

      183. MSU has not sufficiently allocated the amount of benefits (or the

resources and budgets necessary to provide the benefits) it provides to female

athletes.

      184. MSU has failed to increase or provide sufficient benefits (or the

resources and budgets necessary to purchase the benefits) to its women’s varsity

athletic teams despite requiring that they carry significantly more athletes.

Meanwhile, MSU has not decreased the benefits that it provides to men’s varsity

athletic teams even though they now carry significantly fewer athletes. As a result,

while each male athlete now receives more or better benefits, each female athlete

now receives fewer or worse benefits than in prior years.

      185. Defendant fails to provide equal athletic benefits in some or all of the

categories set forth in the Regulations and the Policy Interpretation, including but

not limited to:

             1. The provision of equipment, uniforms, and supplies;
             2. Scheduling of games and practice time;
             3. Travel, transportation, and per diem allowance;



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               4. Opportunity to receive coaching and academic tutoring;
               5. Assignment and compensation of coaches and tutors;
               6. Provision of locker rooms, practice and competitive
               facilities;
               7. Provision of medical and training services;
               8. Provision of housing and dining facilities and services;
               9. Publicity & sports information services;
               10. Administrative support;
               11. Recruiting resources and support; and
               12. Resources necessary to provide any of the foregoing
               benefits or to provide the female athletes with a genuine
               Division I athletic experience.
      186. Plaintiffs are harmed by Defendants’ failure to provide its female

student athletes with an equal allocation of benefits and resources. Such harm

includes lost educational opportunities, lost competitive advantage, and less quality

in participation opportunities. Accordingly, they are entitled to the relief requested

herein.

                                    COUNT IV
                         Elliott-Larsen Civil Rights Act (MCL)
                       Gender Discrimination, Educational Section

      187. Plaintiffs re-allege and incorporate by reference all of the foregoing

allegations.

      188. MSU is an educational institution within the meaning of MCL §

37.2401.

      189. Pursuant to MCL § 37.2402(a), an educational institution shall not

“[d]iscriminate against an individual in the full utilization of or benefit from the




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institution, or the services, activities, or programs provided by the institution because

of . . . sex.”

       190. Pursuant to MCL § 37.2402(b), an educational institution shall not

“limit, or otherwise discriminate against an individual seeking admission as a student

or an individual enrolled as a student in the terms, conditions, or privileges of the

institution, because of . . . sex.”

       191. Plaintiffs are a member of a protected class, in that they are female.

       192. At all times relevant herein, all agents and employees, including the

individual defendants, were acting within the scope of their employment with MSU.

       193. One of the expected benefits of public school education, including the

undergraduate education at MSU, is for students to be free from being subjected to

discrimination based on their gender.

       194. Defendants are aware of the gender discrimination in their education

activities and programs but have tolerated and condoned it, and unreasonably failed

to take any prompt and appropriate remedial action.

       195. Defendants are aware of the gender discrimination in the terms,

conditions, and privileges within their athletic program but have condoned it,

perpetuated it, and unreasonably failed to take any effective remedial action.

       196. As a further direct and proximate result of Defendants’ violation of the

ELCRA, MCL 37.2101, et seq., Plaintiffs have suffered a loss of benefits provided to



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students, a loss of educational opportunities, and will so suffer in the future; they have

been required to employ the services of an attorney to bring this lawsuit and will suffer

additional damages in the future.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

       A.    Certify the first claim as a class action on behalf of all present,

prospective, and future female students at MSU who seek to participate in varsity

intercollegiate swimming and diving, or any other sport not currently offered by

MSU;

       B.    Enter an order declaring that Defendants have engaged in a past and

continuing pattern and practice of discrimination against female students on the basis

of sex in the operation of its athletic program, in violation of Title IX and the

regulations promulgated thereunder;

       C.    Issue preliminary and permanent injunctions from continuing to

discriminate against female students on the basis of sex, restraining Defendants from

eliminating the women’s swimming and diving program (or any women’s athletic

opportunities), and requiring Defendant to provide females with an equal opportunity

to participate in varsity intercollegiate athletics by sponsoring additional women’s

varsity athletic opportunities based upon the interests and abilities of Defendant’s

present, prospective, and future students;



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      D.     Maintain jurisdiction over this action to monitor Defendants’

compliance with this Court’s orders;

      E.     Award the Student Plaintiffs compensatory damages that are incidental

to the equitable relief at hand and permitted under the law;

      F.     Award Plaintiffs their reasonable attorneys’ fees and expenses; and

      G.     Order such other and further relief as the Court deems appropriate.

Dated: January 15, 2021

                                              Respectfully submitted,

                                              NEWKIRK ZWAGERMAN, PLC

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